                        THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT CHATTANOOGA


 JAIMIE RAGER, Mother, Guardian, and Next            )
 Friend of G.C., a minor,                            )
                                                     )
               Plaintiff,                            )
                                                     )
 v.                                                  )   No. 1:19-CV-042
                                                     )
 MCMINN COUNTY, TENNESSEE, et al.,                   )
                                                     )
               Defendants.                           )


                              MEMORANDUM OPINION

        This matter is before the Court for consideration of the motion for summary

 judgment filed by Defendants. [Doc. 28]. Plaintiff has responded [Doc. 35], and

 Defendants have replied [Doc. 36]. Oral argument is unnecessary, and the motion is ripe

 for the Court’s determination.

        Plaintiff has filed suit pursuant to 42 U.S.C. § 1983, on behalf of Timothy Cook’s

 (“Decedent”) child and sole heir. Plaintiff alleges, inter alia, that Defendants violated

 Decedent’s Eighth and Fourteenth Amendment rights by acting with deliberate

 indifference to his safety by failing to protect him from other inmates while he was a pre-

 trial detainee, failing to properly fund the McMinn County Detention Center (“Detention

 Center”) to insure the appropriate treatment of detainees, and failing to adequately monitor

 and evaluate the performance of the employees with respect to their duties to protect

 detainees from known dangers. Plaintiff alleges that Defendants were acting pursuant to an




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      official policy or custom of deliberate indifference which was the proximate cause of, and

      moving force behind, Decedent’s death. Plaintiff also raises claims under Tennessee Code

      Annotated §§ 41-2-108, 41-4-101, & 41-21-201 against Defendant McMinn County

      Sheriff Joe Guy (“Defendant Guy”). For the reasons that follow, the motion will be

      GRANTED in part and DENIED in part.

I.    BACKGROUND

             The facts of this case are largely undisputed by the parties. On February 17, 2018,

      Decedent was arrested by the Athens Tennessee Police Department for Driving Under the

      Influence and taken to the Detention Center. He was placed in holding cell one (“Cell One”)

      until the booking process was completed and he could be moved out of the booking area.

      In the video recording of the Detention Center [Doc. 28, Ex. 6], the lights in Cell One were

      off when Decedent was placed inside. That same day, Jarrod Jones (“Jones”) was arrested

      for Theft and Trespass and brought to the Detention Center. Jones was also placed in Cell

      One for booking, and the lights in the cell remained off. The Detention Center had a total

      of five cells in the booking area, and it was not uncommon for multiple men to be held

      together in Cell One, which is the largest cell in that area.

             At approximately 6:22:43 p.m., Jones appears to kick Decedent in Cell One and

      begins to beat him.1 [Id.]. Deputy Dale Murray (“Deputy Murray”) informed Defendant

      Officer Derrick Saxe (“Defendant Saxe”), who was seated at the booking desk within


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        The Court notes that because the lights were off in Cell One, it is impossible to see what prompted
      the fight or whether there were warning signs that a fight was likely to occur. Had the lights in Cell
      One been on, not only would the video be clearer, but it is possible that Defendant Saxe would
      have seen signs of agitation in Jones before the fight began.
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 eyesight of Cell One, that there was a fight happening. Deputy Murray saw Decedent fall

 and Jones stomp Decedent before alerting Defendant Saxe. Deputy Murray walked to Cell

 One. Defendant Saxe stood up and saw Jones hitting and stomping Decedent, grabbed the

 cell key, and jogged to Cell One behind Deputy Murray. [Id.]. Defendant Saxe and Deputy

 Murray arrived at Cell One approximately 12 seconds after Deputy Murray first noticed

 the fight, and approximately 14 seconds after the fight began. The officers did not enter

 Cell One until approximately 16 seconds after the fight began. [Id.]. Defendant Saxe gave

 verbal commands for Jones to back away, and Jones complied until Defendant Saxe started

 to handcuff him. Deputy Murray deployed his taser into Jones to gain compliance, then the

 officer removed Jones from the cell and placed him in a restraint chair. After Jones was

 removed from Cell One, Deputy Murray radioed for EMS to send an ambulance while

 another officer who had arrived as back-up turned on the cell lights and administered CPR

 to Decedent. Decedent was not breathing, he was unresponsive, and he had no pulse.

 Officers also applied A.E.D. defibrillation shocks to Decedent to no avail. At

 approximately 6:34 p.m., EMS arrived on the scene. Decedent was transported to the

 University of Tennessee Medical, where he was pronounced dead. Jones was later

 convicted of first-degree murder.

        While this was Decedent’s first time in the Detention Center, Jones has a long

 history of incarcerations at the Detention Center and had been disciplined several times in

 the past for assaulting other inmates, both in the booking area and in the general population.

 Prior to the incident on February 17, 2018, Jones had been disciplined six times for

 assaulting other inmates in the prior fifteen times he had been incarcerated there. [Doc. 6,

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 Ex 1]. Of note, on January 29, 2018, nineteen days prior to the altercation with Decedent,

 Jones was arrested and brought to the Detention Center on charges of Aggravated Burglary

 Theft of Property over $1,000. While Jones was in Cell One awaiting booking, he assaulted

 another inmate in the booking area, similar to his assault on Decedent. [Id.]. While one

 officer was working on booking the inmates, another officer informed the booking officer

 that there was a fight in Cell One. Jones was punching the other inmate while the inmate

 was on the ground. Defendant Saxe was the supervising officer at the time of both of these

 incidents. Later that day, Jones assaulted another inmate. Even after murdering Decedent,

 Jones continued to assault inmates on February 22, 2018, and May 13, 2018. [Id.].

        McMinn County has policies 5.01 and 5.02 which pertain to inmate behavior [Doc.

 28, Ex. 3], and Defendant Saxe and Defendant Guy both stated that it is McMinn County

 policy to treat every person the same whenever they are brought to the Detention Center,

 even those with past disciplinary issues, until a person establishes a reason that they would

 need to be treated differently.2 Policy 5.01 sets forth the due process for inmates and the

 procedures for disciplinary actions. Policy 5.01 goes on to define the potential punishments

 an inmate can face for a rule violation and the procedures for disciplining inmates,

 reporting rule violations, investigating the alleged violations, confiscating evidence or

 contraband, relocating inmates, disciplinary hearings, appeals, etc. Under policies 5.01 and

 5.02, inmate assault and/or homicide is a Class A, or highest offense violation, which may



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   The Court notes that the two policies provided do not state or indicate that every person is
 afforded a “clean slate” every time they are brought to the Detention Center according to
 Defendants Guy and Saxe.
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       result in disciplinary segregation for up to sixty (60) days or thirty (30) days per offense,

       administrative segregation, an increase in an inmate’s sentence, forfeiture of good time

       credits, and a referral for criminal prosecution. [Id.]. Policy 5.02 defines and lists the

       prohibited behavior and classifies the behavior into different levels of severity. [Id.].

II.    STANDARD OF REVIEW

              Defendants’ motion is brought pursuant to Federal Rule of Civil Procedure 56,

       which governs summary judgment. Rule 56(a) provides in pertinent part: “The court shall

       grant summary judgment if the movant shows that there is no genuine dispute as to any

       material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

       56(a). The procedure set out in Rule 56(c) requires that “[a] party asserting that a fact

       cannot be or is genuinely disputed must support the assertion[.]” Fed. R. Civ. P. 56(c)(1).

       This can be done by citation to materials in the record, which include depositions,

       documents, affidavits, stipulations, and electronically stored information. Fed. R. Civ. P.

       56(c)(1)(A). Additionally, a party may “show[] that the materials cited do not establish the

       absence or presence of a genuine dispute, or that an adverse party cannot produce

       admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(B).

              After the moving party has carried its initial burden of showing that there are no

       genuine issues of material fact in dispute, the burden shifts to the non-moving party to

       present specific facts demonstrating that there is a genuine issue for trial. Matsushita Elec.

       Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). “The ‘mere possibility’ of

       a factual dispute is not enough.” Mitchell v. Toledo Hosp., 964 F.2d 577, 582 (6th Cir. 1992)

       (quoting Gregg v. Allen-Bradley Co., 801 F.2d 859, 863 (6th Cir. 1986)). Moreover, mere

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        conclusory and unsupported allegations, rooted in speculation, are insufficient to meet this

        burden. Bell v. Ohio State Univ., 351 F.3d 240, 253 (6th Cir. 2003).

               To defeat a motion for summary judgment, the non-moving party must present

        probative evidence that supports its complaint. Anderson v. Liberty Lobby, Inc., 477 U.S.

        242, 249-50 (1986). The non-moving party’s evidence is to be believed, and all justifiable

        inferences are to be drawn in that party’s favor. Id. at 255. The court determines whether

        the evidence requires submission to a jury or whether one party must prevail as a matter of

        law because the issue is so one-sided. Id. at 251-52.

III.    ANALYSIS

         A.    Individual Defendants’ § 1983 Liability for Failure to Protect

               1. Claims Against Defendant Saxe

               Defendant Saxe asserts that Plaintiff cannot maintain her claims against him because

        he responded to the disturbance in twelve seconds, and he is entitled to qualified immunity.

        [Doc. 29, p. 6]. Plaintiff responds that Defendant Saxe is not entitled to qualified immunity

        because Decedent’s right to safety was a clearly established constitutional right, and

        Defendant Saxe both objectively and subjectively knew that his inaction constituted

        deliberate indifference to Decedent’s safety. [Doc. 35, p. 6]. Defendants reply that

        Defendant Saxe was not on shift when Jones and Decedent were brought into the Detention

        Center and had no role in placing them in the cell together. [Doc. 36, p. 2]. Defendants

        further assert that alleging supervisor liability for Defendant Saxe is misplaced, as a




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 constitutional violation based on a policy’s existence does not trigger individual liability.

 [Id.].

          As the Sixth Circuit has established, “Plaintiff bears the burden of showing that

 defendants are not entitled to qualified immunity.” Chappell v. City of Cleveland, 585 F.3d

 901, 907 (6th Cir. 2009). “Qualified immunity is a personal defense that applies only to

 government officials in their individual capacities.” Benison v. Ross, 765 F.3d 649, 665 (6th

 Cir. 2014) (citation omitted). It insulates government officials “from undue interference

 with their duties,” Harlow v. Fitzgerald, 457 U.S. 800, 806 (1982), affording them

 “breathing room to make reasonable but mistaken judgments” and protecting “all but the

 plainly incompetent or those who knowingly violate the law.” Stanton v. Sims, 571 U.S. 3,

 5 (2013) (internal quotation marks omitted) (quoting Ashcroft v. al-Kidd, 563 U.S. 731,

 743 (2011)). To defeat a qualified immunity defense, a “plaintiff must show both that,

 viewing the evidence in the light most favorable to her, a constitutional right was violated

 and that the right was clearly established at the time of the violation.” Id. If a plaintiff fails

 to show either that a constitutional right was violated or that the right was clearly

 established, she will have failed to carry her burden. Id. “Moreover, to satisfy the second

 prong of the standard, plaintiff must show that the right was clearly established in a

 ‘particularized sense,’ such that a reasonable officer confronted with the same situation

 would have known” that their actions violated that right. Id. The Supreme Court has stated

 that courts may address these two issues in the order they think best. Pearson v. Callahan,

 555 U.S. 223, 236 (2009). This Court will first address whether there was a clearly



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 established constitutional right, then will determine whether the constitutional right was

 violated.

               a. Whether the constitutional right was clearly established

        The constitutional right at issue in this case—Decedent's right to be free from

 violence at the hands of other inmates—was clearly established by the Supreme Court

 in Farmer v. Brennan, 511 U.S. 825 (1994). Farmer held that “prison officials have a duty

 to protect prisoners from violence at the hands of other prisoners” because corrections

 officers have “stripped them of virtually every means of self-protection and foreclosed their

 access to outside aid.” Id. at 833 (ellipsis and internal quotation marks omitted); see

 also Wilson v. Yaklich, 148 F.3d 596, 600 (6th Cir. 1998) (“Without question, prison

 officials have an affirmative duty to protect inmates from violence perpetrated by other

 prisoners.”). Here, both parties agree that Decedent was a pre-trial detainee, and pre-trial

 detainees retain analogous Eighth Amendment rights under the Fourteenth Amendment.

 [Doc. 29, p. 5]; [Doc. 35, pp. 8-10]; see also Ruiz-Bueno v. Scott, Nos. 14-4149, 14-4151,

 639 Fed. App’x. 354 (6th Cir. Feb. 2, 2016).

        Thus, Plaintiff has met her burden to show that there was a clearly established

 constitutional right in this case, and the Court will continue with its analysis.

               b. Whether the constitutional right was violated

        To show that a clearly established constitutional right was violated, Plaintiff must

 allege sufficient facts supported by sufficient evidence that Defendant Saxe acted

 “objectively unreasonable in light of [the decedent’s] clearly established constitutional

 rights.” Adams v. Metiva, 31 F.3d 375, 387 (6th Cir. 1994).

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        While Defendant Saxe was not responsible for initially placing Decedent and Jones

 in Cell One together, Defendant Saxe knew of Jones’ violent past with both inmates and

 pre-trial detainees. The Court finds that Defendant Saxe’s actions, or inaction in this case,

 were objectively unreasonable, especially in light of Jones’ prior altercation with a pre-trial

 detainee nineteen days prior during which Defendant Saxe was the supervising officer.

 Defendant Saxe had an affirmative duty to protect Decedent, and his actions of allowing

 Decedent to remain in a dark, confined cell with a historically violent inmate was

 objectively unreasonable and violated Decedent’s constitutional rights. As such, Defendant

 Saxe is not entitled to qualified immunity as to this claim.

        Because Defendant Saxe is not entitled to qualified immunity, the Court must now

 determine whether he is entitled to summary judgment as to Plaintiff’s § 1983 failure to

 protect claim. “A prison official violates the Eighth Amendment only when two

 requirements are met. First, the deprivation alleged must be, objectively, sufficiently

 serious. For a claim (like the one here) based on a failure to prevent harm, the inmate must

 show that he is incarcerated under conditions posing a substantial risk of serious harm.”

 Farmer, 511 U.S. at 834 (internal quotations and citations omitted). “The second

 requirement follows from the principle that only the unnecessary and wanton infliction of

 pain implicates the Eighth Amendment.” Id (internal quotations and citations omitted). “A

 prison official cannot be found liable under the Eighth Amendment … unless the official

 knows of and disregards an excessive risk to inmate health or safety; the official must both

 be aware of facts from which the inference could be drawn that a substantial risk of serious

 harm exists, and he must also draw the inference.” Id., at 837.

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       Here, there is no question that the deprivation alleged is objectively “sufficiently

serious,” and Plaintiff has presented sufficient facts showing that Decedent was

incarcerated under “conditions posing a substantial risk of serious harm.” There are

questions of fact best left for a jury regarding whether Defendant Saxe acted with deliberate

indifference when he did not separate Jones and Decedent. A reasonable jury could find

that Defendant Saxe knew of the risk Jones posed to Decedent and he disregarded that risk

by allowing the two to remain in a dark cell together. Accordingly, the motion for summary

judgment [Doc. 28] on the § 1983 claim for failure to protect raised against Defendant Saxe

in his individual capacity will be DENIED.

       2. Claims against Defendant Guy

       Defendant Guy asserts that Plaintiff cannot maintain her claims against him in his

individual capacity because he is entitled to qualified immunity, and he did not encourage

the specific incident, nor did he actively participate in it. [Doc. 29, p. 8]. Plaintiff responds

that by implementing the policy at issue, Defendant Guy “violated clearly established

statutory or constitutional rights of which a reasonable person would have known.” [Doc.

35] (internal quotations and citations omitted).

       As discussed above, Decedent’s constitutional right to be free from violence at the

hands of other inmates is a clearly established one. As Sherriff, Defendant Guy is

responsible for implementing policy, including the policy which, as discussed in more

detail below, was the moving force behind Decedent’s death. It was objectively

unreasonable for Defendant Guy to have instituted a policy which does not allow

affirmative action to be taken to prevent violence at the hands of other inmates, violating

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the Eighth and Fourteenth Amendment rights of pre-trial detainees to be free from violence

at the hands of other inmates. Thus, he is not entitled to qualified immunity.

Supervisory liability, distinct from municipal liability, cannot be imposed in a § 1983

action based on a theory of respondeat superior without proof of personal involvement.

Taylor v. Michigan Dep’t of Corr., 69 F.3d 76, 80-81 (6th Cir. 1995). “Supervisory liability

under § 1983 does not attach when it is premised on a mere failure to act; it must be based

on active unconstitutional behavior.” Greene v. Barber, 310 F.3d 889, 899 (6th Cir. 2002)

(internal quotations omitted). “However, ‘active’ behavior does not mean ‘active’ in the

sense that the supervisor must have physically put his hands on the injured party or even

physically been present at the time of the constitutional violation…at a minimum, the

plaintiff must show that the defendant at least implicitly authorized, approved, or

knowingly acquiesced in the unconstitutional conduct of the offending officers.” Peatross

v. City of Memphis, 818 F.3d 233, 242 (6th Cir. 2016) (internal citations omitted).

       Here, a reasonable jury could find, that Defendant Guy’s implementation and

enforcement of this policy constitute unconstitutional behavior. While Defendant Guy did

not personally place Decedent in Cell One with Jones, his policies regarding where pre-

trial detainees were placed during booking and regarding the “clean slate” treatment of

every person who was brought to the Detention Center constitutes active unconstitutional

behavior as these policies essentially prohibit the affirmative duty to protect afforded to

pre-trial detainees. Accordingly, the motion for summary judgment [Doc. 28] on the § 1983

claim for failure to protect raised against Defendant Guy in his individual capacity will be

DENIED.

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 B.    McMinn County’s § 1983 Liability for Failure to Protect

       Defendant McMinn County asserts that it cannot be held liable pursuant to § 1983

for constitutional torts committed by its officers and employees based on the doctrine of

respondeat superior. [Doc. 29]. Plaintiff argues that it is Defendant McMinn County’s

policy which has inflicted the injury to Decedent, making Defendant McMinn County

liable. [Doc. 35].

       There is no respondeat superior liability under § 1983 for municipalities and

governmental entities. Monell v. Dep’t of Soc. Serv.of the City of New York, 436 U.S. 658,

694 (1978); Gregory v. City of Louisville, 444 F.3d 725, 752 (6th Cir. 2006). Instead, “it is

when execution of a government’s policy or custom, whether made by its lawmakers or by

those whose edicts or acts may fairly be said to represent official policy, inflicts the injury

that the government as an entity is responsible under § 1983.” Monell, 436 U.S. at 694. For

the county to have liability under § 1983, a plaintiff is required to demonstrate that the

county, through its deliberate conduct, was the “moving force” behind the alleged violation

of his federal constitutional rights. Id. Generally, there are two ways of imposing

supervisory liability: (1) a pattern of conduct; or (2) a truly egregious single incident.

Dillingham, 809 F. Supp. 2d at 846 (citing Ontha, 222 F. App’x at 504-05).

       Here, Plaintiff has shown a pattern of conduct which was the moving force behind

the constitutional violation discussed above. Both Defendants Saxe and Guy stated that it

was official policy or custom to treat everyone as if it was their first time incarcerated at

the Detention Center until that person violated the rules. [Doc. 28, Ex. 1]; [Doc. 31].

Plaintiff has shown that Jones has been violent with other pre-trial detainees both before

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and after murdering decedent, creating a pattern that following the policy with a

notoriously violent person is likely to result in a constitutional violation. [Doc. 6, Ex. 1].

The evidence also shows that there were investigations into Decedent’s death performed

by the McMinn County Sheriff’s Office, the McMinn County District Attorney’s Office,

and the Tennessee Bureau of Investigation which all concluded that the officers conducted

themselves in accordance with the rules and practices. [Doc. 35, Ex. 4, pp. 17-19]. Plaintiff

has plausibly alleged facts to show that the official policy was the moving force behind the

constitutional violations against Decedent. Further, Plaintiff has shown that enforcing the

policy, as it was in this case, makes it impossible for officers to fulfill their affirmative

duties to protect pre-trial detainees. If official policy dictates that officers cannot segregate

detainees until after violence has occurred, regardless of their previous history at that

facility, then it logically and obviously follows that officers cannot fulfill their

constitutional affirmative duty to prevent violence against pre-trial detainees. Accordingly,

the motion for summary judgment on the § 1983 claim for failure to protect raised against

Defendant McMinn County will be DENIED.

 C. Other Constitutional Claims

       1. Failure to Fund the Jail

       Defendant asserts that Plaintiff has not provided factual support to maintain her

claim against Defendants for failing to fund the jail. [Doc. 29]. Plaintiff alleges in her

Amended Complaint that “[t]he Defendants failed to properly fund or properly obtain

funding to insure the appropriate and proper treatment of detainees, including proper

protection of detainees from other detainees.” [Doc. 6, p. 11]. In her response to the motion

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for summary judgment, Plaintiff does not offer evidence regarding the jail’s funding

deficiencies, nor does she argue specifically that this claim should be allowed to proceed

to trial. Plaintiff has not even specified to which Defendant this claim applies, and instead

has made a conclusory allegation. See Bell, 351 F.3d at 253. In light of the absence of

factual support for this claim, Defendant’s motion for summary judgment as to the § 1983

failure to fund claim will be GRANTED, and those claims against all Defendants will be

DISMISSED.

       2. Failure to Train and Supervise claims against Defendants

              a. Defendant McMinn County’s Liability

       Defendants argue that Plaintiff has not shown that the county maintained a policy

or custom that violated the plaintiff’s rights as she has not shown that the failure resulted

in deliberate indifference as to constitutional rights. [Doc. 29]. Plaintiff argues that the

official policy occasioned the deliberate indifference to Decedent’s constitutional right to

be free from violence at the hands of other inmates. [Doc. 35].

       A plaintiff can establish that inadequate training is the product of deliberate

indifference “in one of two ways.” Shadrick v. Hopkins County, 805 F.3d 724, 738 (6th

Cir. 2015). She can plead sufficient facts showing (1) the municipality’s officers engaged

in a pattern of comparable constitutional violations or (2) “a single violation of federal

rights, accompanied by a showing that [the municipality] has failed to train its employees

to handle recurring situations presenting an obvious potential” for a violation. Id. at 738-39

(quoting Bryan Cnty., 520 U.S. at 409). An allegation of a pattern of similar misconduct—

the first of the two approaches—is the “ordinar[y]” or traditional way for a plaintiff to

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establish an inadequate-training theory. Connick v. Thompson, 563 U.S. 51, 62 (2011).

This is so because repetitive wrongdoing by officers who exercise their discretion is a sure

sign that those officers require additional training, and it should be “plainly obvious to the

city policymakers.” Bryan Cnty., 520 U.S. at 407 (quoting City of Canton v. Harris, 489

U.S. 378, 390 n.10 (1989)). The Sixth Circuit has identified two instances in which a

finding of deliberate indifference would be appropriate: “(1) where the training lapse

occurs despite ‘foreseeable consequences’ that will flow from the lapse; and (2) where the

training lapse occurs despite ‘repeated complaints’ to the municipality about the issues that

should have been dealt with in training.” Lee v. Metro.Gov’t of Nashville and Davidson

Cty., 596 F. Supp. 2d 1101, 1124 (M.D. Tenn. 2009) (quoting Ellis ex rel. Pendergrass v.

Cleveland Mun. Sch. Dist., 455 F.3d 690, 700-01 (6th Cir. 2006)).

       Here, a finding of deliberate indifference is appropriate because it is an obvious

foreseeable consequence that placing a pre-trial detainee with another pre-trial detainee

who has a history of assaulting other inmates will result in violence. The obviousness is

especially evident in this case where Jones had a long history of assault and had assaulted

another pre-trial detainee when he was last at the Detention Center, nineteen days prior to

the incident with Decedent. Further, even after murdering Decedent, officers continued to

follow the official policy, and Jones continued to assault other pre-trial detainees. See [Doc.

6, Ex. 1]. Even if Decedent’s death was not a foreseeable consequence of enforcing this

policy, any violence against him or any other pre-trial detainee at the hands of Jones was a

foreseeable consequence of placing them in a cell together given Jones’ long history of

assault. The policy resulted in officers acting deliberately indifferent to Decedent’s Eighth

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and Fourteenth Amendment rights because the policy did not allow officers to affirmatively

protect him from violence at the hands of other pre-trial detainees. Rather, the policy only

allowed officers to take action against further violence. Accordingly, Defendants’ motion

for summary judgment as to the § 1983 failure to train claim will be DENIED as to

Defendant McMinn County.

              b. Defendant Guy’s Liability

       “A supervisor is not liable under § 1983 for failing to train unless the supervisor

either encouraged the specific incident or misconduct or in some other way directly

participated in it. At a minimum, a plaintiff must show that the official at least implicitly

authorized, approved, or knowingly acquiesced in the unconstitutional conduct of the

offending officers.” Everson v. Leis, 556 F.3d 484, 495 (6th Cir. 2009) (internal quotation

marks omitted). The central question, therefore, is whether Defendant Guy “implicitly

authorized, approved, or knowingly acquiesced” in the alleged violations of Decedent’s

Fourteenth and Eighth Amendment rights. A general failure to train claim has been

routinely rejected by the Sixth Circuit as a means to impose liability on a supervisor in his

or her individual capacity. Dillingham v. Millsaps, 809 F. Supp. 2d 820, 845 (E.D. Tenn.

Aug. 10, 2011) (citing Ontha v. Rutherford Cty., 222 F. App’x 498, 503-05 (6th Cir. 2007)).

Absent personal involvement in the underlying unconstitutional act, the attempt to hold

municipal supervisors liable in their individual capacities for their alleged failure to

adequately train employees improperly conflates a § 1983 claim of individual supervisory

liability with one of municipal liability. Harvey v. Campbell Cty., 453 F. App’x 557, 563

(6th Cir. 2011).

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       Here, Plaintiff asserts that Defendant Guy, in his duty as Sherriff, is charged under

the Tennessee Constitution with establishing “regulations governing the acceptance of

persons, other than state prisoners, for incarceration in the county jail.” [Doc. 35, p. 14]

(internal citations omitted). In other words, Plaintiff asserts that Defendant Guy created the

policy at issue and was responsible for its enforcement. Defendants argue that Defendant

Guy is not liable because “a constitutional violation that arises from a policy’s mere

existence does not trigger individual liability for a supervisor under § 1983.” [Doc. 36, p.

1] (internal citations omitted). Looking at the facts presented in the light most favorable to

the non-moving party, there are questions of fact best left to the jury regarding whether

Defendant Guy “implicitly authorized, approved, or knowingly acquiesced” in the

violations alleged. At the very least, Plaintiff has plausibly alleged that Defendant Guy

implicitly authorized Defendant Saxe and other officers to only react to violence and not

prevent violence as discussed above. Accordingly, Defendants’ motion for summary

judgment as to the § 1983 failure to train claim will be DENIED as to Defendant Guy.

              c. Defendant Saxe’s Liability

       As discussed above, a supervisor is liable for failure to train if the officer

“encouraged the specific incident or misconduct or in some other way directly participated

in it.” Everson, 556 F.3d at 495. Here, as discussed above, Plaintiff has plausibly shown

that Defendant Saxe directly participated in the specific incident as he was on duty during

the altercation and did not separate Decedent and Jones before the altercation despite being

aware of Jones’ past violent acts toward other inmates. Further Defendant Saxe stated that

it was policy and to afford each person a “clean slate” when they were brought to the

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Detention Center and that it was common for multiple people to be held in Cell One during

the booking process even though there were four other empty cells. [Doc. 28, Ex. 1].

Accordingly, Defendants’ motion for summary judgment as to the § 1983 failure to train

claim will be DENIED as to Defendant Saxe.

 D.    State Law Claims

       All that remains for consideration in this action are the pendent state law claims that

the Plaintiff has raised against Defendant Guy for allegedly violating Tenn. Code Ann. §§

41-2-108, 41-21-101, & 41-21-210. Defendants assert that Plaintiff’s state law claims must

fail as there is no Tennessee authority to bring a private cause of action under these specific

statutes. [Doc. 29]. Defendants further assert that even if the Court construed Plaintiff’s

claim as a claim for negligence per se, Plaintiff’s claim still fails as the statute “merely

names the sheriff an ex officio superintendent of a jail that has been declared a workhouse.”

[Id.] (internal quotations omitted”). Finally, Defendants argue that Plaintiff cannot show

that Defendant Guy breached any type of duty as he had no interaction with Decedent and

any alleged “harsh and cruel” treatment towards Decedent was by another inmate and not

Defendant Guy or any of his employees. [Id.]. Plaintiff did not specifically address this

issue in her response and has not provided the Court with authority to show that Plaintiff

can bring a private cause of action against Defendant Guy based on those statutes. Further,

Plaintiff has not provided factual support for her state law claims and has only set forth

conclusory allegations in her amended complaint. See Bell, 351 F.3d at 253. In light of the

absence of factual support for these claims, Defendants’ motion for summary judgment as



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      to Plaintiff’s state law claims will be GRANTED, and Plaintiff’s state law claims will be

      DISMISSED.

IV.   CONCLUSION

             Accordingly, for the reasons stated herein, Defendants’ motion for summary

      judgment [Docs. 28] will be GRANTED in part and DENIED in part. Plaintiff’s federal

      claims for failure to fund the jail as to all Defendants will be DISMISSED. Plaintiff’s state

      law claims against Defendant Guy will be DISMISSED. An order consistent with this

      opinion will be entered.

             IT IS SO ORDERED.

                                                               ENTER:

                                                                      s/ Leon Jordan
                                                                United States District Judge




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